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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


ANDREW CORZO, SIA HENRY, ALEXANDER                   Case No.: 1:22-cv-00125
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN SHUMATE,                  Hon. Matthew F. Kennelly
BRITTANY TATIANA WEAVER, and CAMERON
WILLIAMS, individually and on behalf of all others
similarly situated,

       Plaintiffs,
                        v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA, WILLIAM
MARSH RICE UNIVERSITY, VANDERBILT
UNIVERSITY, and YALE UNIVERSITY,

       Defendants.

         PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
           MOTION TO EXCLUDE TESTIMONY OF PETER AMMON
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                        GLOSSARY OF ABBREVIATIONS


Ammon Rpt.:       Expert Report of Peter Ammon, dated August 7, 2024
Bulman Rpt.:      Expert Report of George Bulman, Ph.D., dated May 14, 2024
Ex. __:           Exhibit to the Declaration of Edward Normand dated December 16, 2024




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                                       INTRODUCTION

       Plaintiffs move to exclude the testimony of Peter Ammon under Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), and Federal Rule of Evidence 702. Mr. Ammon is

the Chief Investment Officer of Defendant The Trustees of The University of Pennsylvania

(“Penn”). Penn proferred Mr. Ammon’s opinions after the close of fact discovery and in rebuttal

to the timely disclosed report and analyses of Plaintiffs’ economic expert Prof. George Bulman,

Ph.D. Mr. Ammon is not qualified to offer opinions on Dr. Bulman’s analyses. Accordingly, the

Court should exclude Mr. Ammon’s opinions on Dr. Bulman’s analyses.

                                        BACKGROUND

       On May 14, 2024, Plaintiffs submitted the 54-page Expert Report of Prof. George Bulman,

Ph.D. Dr. Bulman is an Associate Professor of Economics at the University of California, Santa

Cruz, where he teaches econometrics to undergraduate and masters students, and applied

microeconomics at the Ph.D. level. Bulman Rpt. ¶ 13 (Ex. 112). He is also a Research Associate

with the National Bureau of Economic Research. Id. He received his Ph.D. in Economics from

Stanford University. Id. He is an applied microeconomist with research in, among other fields, the

economics of education. Id. ¶ 14. He has been frequently published in leading general interest and

field journals in economics and on higher-education topics. Id. ¶ 15.

       In his report, using multi-variable, fixed-effects regression analyses, Dr. Bulman compared

the Defendants’ spending on institutional aid out of their “excess” endowment returns—those that

exceed the target spending rate from the endowment plus inflation—before and after the

Defendants’ participation in the Overarching Conspiracy that Plaintiffs allege in this case. Id.

¶¶ II.b, 32-35. Dr. Bulman’s analyses showed that before the challenged conduct, higher

endowment returns resulted in greater financial aid and reduced net prices, whereas during the

alleged conspiracy, higher endowment returns were not allocated to increasing aid or reducing net
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prices. Id. ¶ 32. The differences in the allocation of excess returns before and after the challenged

conduct were “highly statistically significant,” and the before-after differences are “consistent with

Defendants’ participating in the Challenged Conduct.” Id.

         Dr. Bulman further concluded that, during the period of the challenged conduct,

Defendants increased their endowments in inflation-adjusted dollars between 46% and 281%, with

an average of 144%. Id. ¶¶ 24-31. He further concluded that, during the period of the challenged

conduct, Defendants’ collective endowments grew by approximately $165 billion and reached a

collective total of over $220 billion in 2022. Id. ¶ 26. Dr. Bulman showed that virtually every

Defendant in the 568 Group from 2003 to 2022 could have awarded 10% to 20% more institutional

financial aid each year while still increasing the purchasing power of its endowment at virtually

the same rate as in fact occurred (and even the exception, Georgetown, could have spent 10% more

and enjoyed approximately 90% of the same endowment growth). Id. ¶¶ 62-69 & Table 10.

         On August 7, 2024, Penn served a Disclosure pursuant to Federal Rule of Civil Procedure

26(a)(2)(C) on behalf of its Chief Investment Officer, Peter Ammon, to critique Dr. Bulman’s

findings. See Ammon Discl. ¶ 7 (Ex. 122). Mr. Ammon prepared no report.1 The Ammon

Disclosure lists a number of purported facts relating to the size of Penn’s endowment and financial

aid spending that Mr. Ammon claims bear on Dr. Bulman’s statistical analyses. Id. Yet the

Disclosure does not indicate how any of these purported facts affects or discredits Dr. Bulman’s


1
  Penn served the Ammon Disclosure under Rule 26(a)(2)(C), but under the rule, a non-retained expert
may not testify about analyses performed only because of litigation,such as analysis inherent in a rebuttal
opinion. See, e.g., Beaton v. SpeedyPC Software, 338 F.R.D. 232, 236 (N.D. Ill. 2021) (“Flood only
formed this opinion after reviewing Easttom’s report . . . . Where Flood’s testimony extends to new
opinions formed because of this case, it cannot properly be introduced in his position as a hybrid expert.”
(cleaned up)). This infirmity, however, does not implicate Daubert and is thus premature to litigate. See
id. (“[O]ther appropriate pretrial relief as may properly be sought through trial motions in limine or
otherwise, including other challenges to the admissibility of Flood testimony.”). If necessary, Plaintiffs
will oppose or move to exclude Mr. Ammon’s testimony on this further basis at the appropriate time—
including to exclude his proposed testimony regarding his data compilations.


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statistical findings regarding Penn in particular or Defendants as a group. The Disclosure contains

no statistical estimates of its own purporting to show how any of the supposed “facts” it sets forth

would change or even apply to Dr. Bulman’s statistical conclusions.

        Mr. Ammon nevertheless proposes to offer, and in fact has repeatedly offered, opinions on

Dr. Bulman’s statistical analyses and conclusions with respect to Penn. The Ammon Disclosure

states that Mr. Ammon will critique Dr. Bulman’s regression analysis based on his understanding

of Penn’s data. Ammon Discl. ¶ 7(a). Ammon Discl. ¶ 7(a). Mr. Ammon testified at deposition

that the data he has presented “is entirely inconsistent with Dr. Bulman’s allegations about a

conspiracy to suppress financial aid.” P. Ammon 117:15-23 (Ex. 59). In his opinion: “There’s no

regression that needs to be done to show this. The facts are clear and stand on their own feet.” Id.

118:21-119:3. He offers this opinion even as he acknowledges that “regressions are used to show

– to – to test hypotheses around statistical relationships between or among different variables.” Id.

119:5-10. Asked “why do you disagree with Professor Bulman?” he answered: “Professor

Bulman’s conclusion that there was a conspiracy to suppress financial aid awards is entirely

inconsistent with the facts at Penn.” Id. 193:25-194:5.

        Mr. Ammon does not hold a Ph.D. in economics or any other field. See P. Ammon 115:5-7

(Ex. 59). He does not otherwise have the training, experience, or expertise to render competent

opinions on Dr. Bulman’s analyses. Instead, his claimed expertise consists only of supposed

“specialized technical knowledge of the composition and performance of Penn’s endowment

investment portfolio; the strategic considerations, institutional priorities, and financial factors that

guide and constrain Penn’s investment decisions; and the market conditions in which Penn

operates.” Ammon Discl. ¶ 5. Nothing in this description refers to any statistical expertise.




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       Under Daubert and the standards of Federal Rule of Evidence 702, as shown further below,

Mr. Ammon is not qualified to offer any opinions to rebut Dr. Bulman’s opinions. Accordingly, the

Court should exclude Mr. Ammon’s opinions.

                                          ARGUMENT

       “Together, Rule 702 and the Daubert principles provide what is essentially a three-step

analysis: for an expert’s testimony to be admissible, (1) he or she must be qualified; (2) the

reasoning or methodology underlying the testimony must be reliable; and (3) the testimony must

be relevant, meaning likely to assist the trier of fact to understand the evidence or to determine a

fact in issue.” In re Testosterone Replacement Therapy Products Liability Litig., 430 F. Supp. 3d

516, 532 (N.D. Ill. 2019) (citations omitted). Whether a proposed witness qualifies as an expert is

determined by “comparing the area in which the witness has superior knowledge, skill, experience,

or education with the subject matter of the witness’s testimony.” Gayton v. McCoy, 593 F.3d 610,

616 (7th Cir. 2010) “The question . . . is not whether an expert witness is qualified in general, but

whether his qualifications provide a foundation for him to answer a specific question.” Id. at 617.

       Mr. Ammon lacks the knowledge, skill, experience, education, and training to critique Dr.

Bulman’s analyses and opinions regarding whether Defendants’ conduct was consistent with a

conspiracy. See, e.g., In re Dealer Management Systems Antitrust Litigation, 581 F. Supp. 3d 1029,

1052 (N.D. Ill. 2022) (an economic expert may analyze and opine on whether the defendants’

conduct is consistent with a conspiracy). Dr. Bulman’s analyses were based on his education,

training, and experience as an economist, and use of multi-variable, fixed-effects regressions.

“Regression analysis is a statistical method by which data is organized as dependent and

independent variables . . . and is boiled down to a straight line such that predictions can be made

about scenarios outside that data.” In re Broiler Chicken Antitrust Litig., 2022 WL 1720468, at

*10 (N.D. Ill. May 27, 2022). Such analysis “is common in antitrust cases.” Kleen Prods. LLC v.


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Int’l Paper, 306 F.R.D. 585, 602 (N.D. Ill. 2015) (citing Reference Guide on Multiple Regression,

in REFERENCE MANUAL ON STATISTICAL EVIDENCE 305-07 (3d ed. 2011)2).3

         In contrast, Mr. Ammon admitted he could not even remember the last time he modeled a

regression with fixed effects, but he insisted with respect to Dr. Bulman that “my understanding

of statistics is sufficient to understand and critique his analysis.” P. Ammon 115:8-16 (Ex. 59).

Mr. Ammon’s supposed “understanding of statistics” is not sufficient to qualify him to offer

opinions supposedly rebutting Dr. Bulman’s econometric analysis. Indeed, with respect to the

opinions he proffers, Dr. Ammon did not even apply statistical analysis to critique Dr. Bulman’s

analysis. Instead, he simply lists a number of purported facts, relating to size of Penn’s endowment

and finances, that he claims bear on Dr. Bulman’s statistical analyses.

         There is nothing in the Ammon Disclosure indicating how any one of these alleged “facts”

supports Mr. Ammon’s opinions—nothing to indicate how those facts discredit, or even relate to,

Dr. Bulman’s statistical finding that Penn in particular, and Defendants as a group, spent less on

institutional aid in relation to their excess endowment returns after challenged conduct began than




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  See, e.g., ATA Airlines, Inc. v. Fed. Express Corp., 665 F.3d 882, 889-90 (7th Cir. 2011) (finding the
REFERENCE MANUAL reliable for understanding technical evidence).
3
  See, e.g., Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d 796, 808 (7th Cir. 2011) (describing regression as
“a proven statistical methodology”); Broiler Chicken, 2022 WL 1720468, at *10 (“Regression analysis is
a widely accepted method . . . and is commonly used in price-fixing cases.”); accord Kohen v. Pac. Inv.
Mgmt. Co., 571 F.3d 672, 676 (7th Cir. 2009); In re Packaged Seafood Prods. Antitrust Litig., 2019 WL
3429174, at *9 (S.D. Cal. July 30, 2019); In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 291,
313 (N.D. Cal. 2010); see also Olean Wholesale Grocery Coop. v. Bumble Bee Foods LLC, 31 F.4th 651,
681-83 (9th Cir. 2022) (en banc) (upholding class certification where there was a “rational basis” for use
of pooled regression model (one that combined the data of multiple defendants into a single model)
capable of showing generalized injury to the Class); accord Dealer Mgmt., 2024 WL 3509668, at *6.
Defendants’ expert Dr. Hill agrees that a regression is appropriate here to determine whether the
challenged conduct had an effect on prices. N. Hill 92:23-93:6 (Ex. 72). Dr. Hill admitted that antitrust
agencies like the Department of Justice and the Federal Trade Commission regularly use regression
analyses to determine the economic impact of alleged price-fixing conspiracies. Id. 92:23-93:6.


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they did before then. Neither Mr. Ammon’s disclosure nor his deposition testimony even addresses

whether Penn or any of the Defendants spent less on institutional aid in relation to their excess

endowment returns after the alleged conspiracy began than they did before. In short, neither Mr.

Ammon’s disclosure nor his deposition testimony contains any statistical estimates of his own

showing how any of his “facts” change, or even relate to, Dr. Bulman’s statistical conclusions.

                                        CONCLUSION

       Plaintiffs respectfully request, for the foregoing reasons, that the Court exclude the

proposed opinions of Peter Ammon under Daubert and Rule 702.




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Dated: December 16, 2024                     Respectfully Submitted,


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